              UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF VIRGINIA
                      Newport News Division


UNITED STATES OF AMERICA


v.                                         Criminal No. 4:08cr16


DAVID ANTHONY RUNYON


     SUPPLEMENTAL NOTICE REGARDING MENTAL HEALTH EXPERTS

       Defendant, David Anthony Runyon, hereby gives notice of his intent to
offer mental health experts as follows; this notice is dependent on
defendant’s receipt of his and his family’s medical records from the United
States Government for periods of time when defendant was in the Army and
when he and his mother were Army dependents:


                      Allan F. Mirsky, Ph. D. ABPP-CN
                   Diplomate in Clinical Neuropsychology
                 American Board of Professional Psychology
            Center for Psychological Evaluation and Consultation
                         5502 Spruce Tree Avenue
                            Bethesda, MD 20814
                               301-435-9813


       Dr. Mirsky is a neuropsychologist who will do psychological testing on
the defendant if deemed appropriate once the medical records of defendant
and his family are received.

                                     -1-
                         James R. Merikangas, M.D.
                         4938 Hampden Lane #428
                            Bethesda, MD 20814
                               301-654-1934


      Dr. Merikangas is a psychiatrist who will be testifying to factors
discovered in defendant’s medical records and those of his family and who
may interview defendant on issues discovered in the medical records, all as
determined to be necessary and appropriate once the medical records are
received.
                                     DAVID ANTHONY RUNYON
                                     By:            /s/
                                     Stephen A. Hudgins, Esquire
                                     VSB No. 20315
                                     Counsel for David Anthony Runyon
                                     Cope & Olson, P.L.C.
                                     11836 Canon Blvd., Suite 100
                                     Newport News, VA 23606
                                     Telephone: 757.596.0316
                                     Telefax: 757.596.5320
                                     shudgins@com.hrcoxmail.com

                        CERTIFICATE OF SERVICE
      I hereby certify that on the 29th day of June, 2009, I will electronically
file the foregoing with the Clerk of Court using the CM/ECF system, which will
then send a notification of such filing (NEF) to the following:


Blair C. Perez, Esquire
United States Attorney’s Office
101 W. Main Street, Suite 8000
Norfolk, VA 23510
Telephone: 757.441.6331
Telefax: 757.441.6689
blair.perez@usdoj.gov


                                      -2-
Brian J. Samuels, Esquire
VSB No. 65898
United States Attorney’s Office
Fountain Plaza Three, Suite 300
721 Lakefront Commons
Newport News, VA 23606
Telephone: 757.591.4000
Telefax: 757.591.0866
brian.samuels@usdoj.gov

Lisa R. McKeel, Esquire
VSB No. 28652
United States Attorney’s Office
Fountain Plaza Three, Suite 300
721 Lakefront Commons
Newport News, VA 23606
Telephone: 757.591.4000
Telefax: 757.591.0866
lisa.mckeel@usdoj.gov

Lawrence Hunter Woodward, Jr., Esquire
Shuttleworth, Ruloff, Swain, Haddad & Morecock, P.C.
Counsel for David Anthony Runyon
4525 South Boulevard, Suite 300
Virginia Beach VA 23452
Telephone: 757.671.6047
Telefax: 757.671.6004
lwoodward@srgslaw.com

Larry M. Dash, Esquire
Office of the Federal Public Defender
Counsel for Catherina Rose Voss
150 Boush Street, Suite 403
Norfolk, VA 23510
larrydash@fd.org




                                    -3-
Paul G. Gill, Esquire
Office of the Federal Public Defender
Counsel for Catherina Rose Voss
830 E. Main Street, Suite 1100
Richmond, VA 23219
paulgill@fd.org

Jeffrey A. Swartz, Esquire
Rabinowitz, Swartz, Taliaferro, Swartz & Goodove
Counsel for Catherina Rose Voss
150 Boush Street, Suite 800
Norfolk, VA 23510
jswartz@rstsg.com

James S. Ellenson, Esquire
Law Office of James Stephen Ellenson
Counsel for Michael Anthony Eric Draven
Bank of America Building
2600 Washington Avenue, Suite 1000
Newport News, VA 23607
jseatty@aol.com

Timothy G. Clancy, Esquire
Moschel & Clancy, PLLC
Counsel for Michael Anthony Eric Draven
2101 Executive Drive, Third Floor
Tower Box 78
Hampton VA 23666
tclancy@moschelandclancy.com

                                    ___________/s/_________________
                                    Stephen A. Hudgins, Esquire
                                    VSB No. 20315
                                    Counsel for David Anthony Runyon
                                    Cope & Olson, P.L.C.
                                    11836 Canon Blvd., Suite 100
                                    Newport News, VA 23606
                                    Telephone: 757.596.0316
                                    Telefax: 757.596.5320
                                    shudgins@com.hrcoxmail.com

                                    -4-
